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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the                                FILED
                                                 Northern District of __________
                                              __________              Texas                   August 4, 2020
                  United States of America                      )                       KAREN MITCHELL
                             v.                                 )                   CLERK, U.S. DISTRICT COURT
                                                                )      Case No.
                                                                )                 3:20-MJ-
          NICHOLAS KEITH FLETCHER                               )
                                                                )                  3:20-MJ-802-BT
                                                                )
                          Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                July 23, 2020                in the county of                 Ellis        in the
     Northern          District of        Texas             , the defendant(s) violated:

            Code Section                                                  Offense Description
18 U.S.C. § 2113(a)                          Bank robbery




         This criminal complaint is based on these facts:

See attached affidavit.




         ✔ Continued on the attached sheet.
         u


                                                                                           Complainant’s signature

                                                                                      William Ellstrom, TFO FBI
                                                                                            Printed name and title

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Date: 8/4/2020
                                                                                              Judge’s signature

City and state:           Dallas, Texas                                   REBECCA RUTHERFORD, U.S. Magistrate Judge
                                                                                            Printed name and title
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                                           AFFIDAVIT

       I, William Ellstrom, am a Task Force Officer (TFO) with the FBI-Dallas Division and

assigned to the Violent Crimes Task Force, with primary duties to investigate bank robberies. I

have been employed as a TFO for approximately eight (10) years, and have been a Garland

police officer for approximately thirty (30) years.

       I believe NICHOLAS KEITH FLETCHER, is the individual who, on or about July 23,

2020, robbed the First Convenience Bank located at 1200 N. Highway 77, Waxahachie, Texas,

the deposits of which were then insured by the Federal Deposit Insurance Corporation (FDIC).

This affidavit is based on my personal knowledge and information provided to me by other law

enforcement officers who participated in this investigation. Since this affidavit is being

submitted for the limited purpose of securing a criminal complaint and arrest warrant, I have not

included every fact known to me concerning this investigation.

                                              FACTS

On July 23, 2020, at approximately 12:37 PM, I was notified of a bank robbery that occurred at

the First Convenience Bank, 1200 N. Highway 77, Waxahachie, Texas 75165 which is located

inside a Walmart store. I arrived and interviewed the victim teller, B.P., who stated that at

approximately 12:02 PM, a black male suspect, later identified as NICHOLAS KEITH

FLETCHER, entered the bank and approached her. FLETCHER presented a note which read,

"I have a gun, give me the money now!!! If you try anything we both will DIE TODAY!".

FLETCHER then verbally stated, “I am dead serious.” B.P. stated she was in fear for her life,

complied and handed over cash from her top drawer. FLETCHER took the money and fled the

location on foot. B.P. pressed the silent alarm and police responded. FLETCHER was described

as a black, male, approximately 6”00”, 240 pounds. The reported loss amount was $2,728.00 in

U.S. Currency and was FDIC insured.
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       On August 01, 2020, FLETCHER turned himself in to the Waxahachie Police

Department. Detectives met with FLETCHER and interviewed him about the bank robbery.

FLETCHER was read his Miranda rights and agreed to speak with detectives. FLETCHER

stated he has been unable to maintain a job and has a drinking problem. He further stated that he

saw on the news where someone had robbed a bank using a note and made away with money.

He thought that if it were that easy, he could do the same thing. FLETCHER stated he dressed

up and committed the robbery at the First Convenience Bank located at 1200 N. Highway 77, in

Waxahachie. FLETCHER then told detective he threw the clothes away in a dumpster located in

an apartment complex in Corsicana, Texas. FLETCHER stated he used the money to pay a

couple of bills and spent the rest at a strip club. He was shocked at how quickly the money

disappeared. FLETCHER stated that was thinking of doing another bank robbery but began to

feel guilty and decided to turn himself into Waxahachie Police Department. FLETCHER

matches the physical description of the bank robber and gave details of the offense that only the

suspect would know such as the amount of money obtained, around $2,700.00, and clothing he

was wearing, specifically, a green construction hard hat and blue Dickies style shirt.




       Texas Driver’s License Photo               Surveillance Photo



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       The robbery note used by the subject during the offense was recovered at the crime scene.




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                                        CONCLUSION

       Based on the forgoing facts and circumstances, there is probable cause to believe that on

or about July 23, 2020, NICHOLAS KEITH FLETCHER, committed the above-referenced

robbery at First Convenience Bank 1200 N. Highway 77, Waxahachie, Texas, a location within

the Dallas Division of the Northern District of Texas, in violation of 18 U.S.C. § 2113(a), in that

NICHOLAS KEITH FLETCHER entered a federally insured bank with the intent to commit

in such bank any felony affecting such bank or any larceny. Therefore, I respectfully request the

issuance of a criminal complaint and arrest warrant for the offense of bank robbery, a violation

of 18 U.S.C. § 2113(a).



                                             ___________________________
                                             WILLIAM ELLSTROM
                                             Task Force Officer, FBI
                                             Dallas, Texas


       Sworn to and signature confirmed via reliable electronic means, pursuant to Fed. R.

                            4th day of August, 2020.
Crim. P. 4.1 before me this _____




                                             _____________________________
                                             REBECCA RUTHERFORD
                                             United States Magistrate Judge
                                             Northern District of Texas




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